 qAO 2458
                      Case 3:04-cr-00351-ADC                 Document 612                          Filed 06/15/07        Page 1 of 5
               (Rev.06/05)Judgrnent
                                  in a CriminatCase
               She€tI



                                      UNrreoSrarssDrsrrucrCouRr
                       FORTHE                                     Districtof
          LINITED STATESOF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                            v.
           ruANpABLocsosfrto-prREz
                                                                          CaseNumber:                               04-cR-351
                                                                                                                            (17)(SEC)
                                                                          USM Number:                               24293-069
                                                                          LUISRTVERA-RODzuGUEZ
                                                                          Defendant's Attomey
THE DEF'ENDANT:
E pleadedguilty to count(s)

E pleadednolo contendereto count(s,
  which was accepted by the court.
X was found guilty on count(s)       ONE      on 02/14/07
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section               Nature of Offense                                                                     OffenseEnded             Count
l 8 ; 1 9 5 6( h )            CONSPIRACYTO COMMIT MONEY LAIjI.{DERING                                                MAY 2OO3                  I
                              A CLASS'C" FELONY.
l8:982(a)(
        1)                    MONEY LAT]NDERING, CRIMINAL FORFEITI,IRE                                               MAY 2OO3                  3



      The defendaat is sentencedas provided in pages 2 through                     5              ofthisjudgnent.   The sentencers rmposed pursuant to
the SentencingR€form Act of 1984.

E The defendant has been found not guilty on count(s)

! Count(t                                             E is    I     are dismissed on the motion of the United States.

         It is orderedthat the defendant.mustnoti$/ the United States
                                                              anomey for this disbict within 30 days ofaly.c^hangeofname. residence.
ormailinsaddress
              untilall fines.restitution.
                                       costs.
                                           ina ipiiiaiir-seri'G;6id;;;jui,il;iiie#.;i#"f;ii"y;",..         rrorqereo
thedefendant
           mustnotiDthecourtandunitedSiates    i'ttomit;i-ul;;i;, "*nges rneconomjc                                 ropayresbtunon,
                                                                                         cucur6rances.
                                                                        Jt-rNE15.2007
                                                                        D"t. of lrnpo.



                                                                        S/ SalvadorF. Casellas
                                                                        S i g n a l u r eo f J u d g e




                                                                        NameandTirleofJudge


                                                                        JLINEI5. 2OO7
                                                                        Date
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                                                                                                   Judgment-   Page
 DEFENDANT:                 ruANPABLOCEDENO-PEREZ                                                                       2     of

 CASENUMBER:                04-CR-351(lTXSEC)


                                                           IMPRISONMENT
             The defendant is hereby committed to the custody of the united states
     -                                                                             Bureau ofprisons to be irnprisoned for a
 total term of:


                                                        SE\aENTY (70)MONTHS


            The court makes the following recommendations to the Bureau ofprisons:
            That defendantserveshis sentencein Coleman,Florida.




      X    The defendant is remanded to the custody ofthe United StatesMarshal.

      tr   The defendant shall surender to the United States Marshal for this distncr:

           D    a                               I   a.m.     E   p.-.        on
           D      as notifred by the United StatesMarshal.

      tr   The defenclantshall surrenderfor serviceofsentenceat the institution designatedby the Bureau
                                                                                                           ofprisons:
           tr     before 2 p.m.

           tr     asnotifiedby theUnit€dStatesMarshal.

           tr     asnotifiedby theProbationor PretdalServicesOflice.



                                                                 RETURN
I have executedthis judgment as follows:




           Defendantdelivered

at                                                  with a certified copy ofthisjudgment.




                                                                                               UNITED STATES MARSHAL



                                                                        By
                                                                                            DEPUTYUNITEDSTATESMARSHAL
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                Sheet3 - SupervisedRelease

                                                                                                             Judgment Page
    DEFENDANT:  ruANPABLOCEDENIO-PEREZ                                                                                          l

    CASENUMBER: 04-CR-3st(lTXSEC)
                                                          SUPERVISED RELEASE
    Upon releaseftom imprisonment,the defendantshall be on supervisedrelease
                                                                            for a term of:


                                                               THREE (3)YEARS


     The defendantmust reDortto the probation office in the district to which the defendant
custody ofthe Bureau ofPrisons.                                                            is releasedwithin 72 hours ofrelease from the

The defendant shall not commit another federal, state or local crime.
The defendant shall not unla\*{ullv possessa controlled substanc€. The detndant shall reftain
                                                                                              ftom any unla*ful use of a conholled
                          shalr      sLibhit
                                          rooned"AGa*rl'i" Ii a"i;;Gi;;;"nffi d;i;;;il;;i                    ;;i ;'i.u,t t*opiiioo-ii:'a,ig
                                                                                                                                        G.s
il.b,'.:fi$;
          ,Thd:,*.,j:ij#t
E         The above drug testing condition is suspended,basedon the court's determinationthat the defendantposes
                                                                                                                a low risk of
          funrle substanceabuse. (Check, ifapplicable.)

X         The defendantshall not possessa fueanq ammunitioq destructivedevice, or any other dangerousweapon. (Check,
                                                                                                                                    ifapplicable.)
X         The defendantshall cooperatein the collection ofDNA as directedby the probalion officer. (Check, ifapplicable.)

!         The defendant shall register with the state sex off€nder registration agency in the state whsre the defendant resides.
                                                                                                                                 work. or is a
          student,as dirccted by the probation offrcer. (Check, ifapplicable.)

E         The defendantshall participatein an approvedprogram for domesticviolence. (check, if applicable.)
    If this iudpmentimposesa fine_o,rrestitution,it is a condition ofsupervised releasethat the defendantpay in accordancewith
ScheduleofPa!,rnentsslieerof this judgment.                                                                                    the

      The defendant must comDlv with the standard conditions that have been adopted by this court as well as with any additional
on tle attachedoase.                                                                                                             conditions


                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendantshall not leave thejudicial dishict without the perrnissionof th€ court or probation officer;
    2)     the defendant shall reoort to the probation officer and shall submit a nutbi.rl and conplete written report within the first five days
           each month:                                                                                                                            of

    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
    4)     the defendant shall support his or her dependentsand meet other family responsibilities;
    5)     the defendantshall work rezularly at a lawful occupation,unless excusedby the probation officer for schooling,training, or
           acceptablereasons:                                                                                                         other

    6)     the defendant shall noti$ the probation officer at least ten days prior to any change in residence or emplo).ment;
    7)     the defendantshall refiain ftom excessiveuse ofalcohol and shall not pu.rchase,possess.use. drstribute.or administer-.'
                                                                                                                               anv
           controlled substanceor any paraphernaliarelatedto any connolled sub'stances, iicepr as pieiJUid bi;;L)-;l;;;*
    8)     the defendant shall not frequent places where controlled substancesare illegally sold, used, distributed, or administered;
    9)     the defendantshall nol associatewith any personsengagedin criminal activity and shall not associatewith any personconvicted
           felony, unJessgrantedpermissionro do io'by the probailon offrci,;                                                           ofa

l0)        the defendantshall permit a Drobationofficer to visit him or her at any time at home or elsewhereand shall perrnit confiscation
           conhabandobservedin plain view of the probation officer;                                                                       ofany

I I)       the defendant shall noti8, the probation ofncer within seventy-two hows ofbeing arrested or questioned by a law enforcement officer;
12)        the defendatrtshall not enter into any agreementto act as an informer or a special agent ofa law enforcementagencywithout
           Dermissionof the coud: and                                                                                                the

I J;       as directedby the probation officer. the defendantshall notify
                                                                   -p;ninithird partiesofrisks that may be occasionedby the defendanr.scriminal
           recordor peisonal   hislory
                                 or characteristics
                                                  ;d:halt     --' ri;'p;i,;r;;;ifi;;'t;?"i'."ri'.T';tlfi;dri";i;;;
                                                                  ---                                                                ;';";H""    iii;
           defendant's
                    conpliancenith suchnotifrcationiequd-Ent.
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AO 2458   (Rev.06/05)Judgmentin a CriminalCase
          Sheet3A -

                                                                                  Judgment-Pape   4   nf     <
DEFENDANT:             ruANPABLOCEDENIO.PEREZ
CASENUMBER:            04-CR-351(17XSEC)

                                ADDITIONAL SUPERVISEDRELEASE TERMS

I ' The defendantshall not commit anotherFederal,state,or local crime, and
                                                                  shall observethe standad conditions
of supervisedreleaserecommendedby the United StatesSentencingCommission
                                                                        and adoptedby this Coull.

2. The defendantshall not unlawfully possesscontrolled substances.


3' The defendantshall refrain from possessingfirearms,destructivedeviccs,and other
                                                                                      dalgerous woapons.

4' If deportedor grantedvoluntary departure,the defendantshall remain outsidethe
                                                                                    United states,and all places
 subjectto itsjurisdiction unlessprior written permissionto reenteris obtainedfrom the pertrnent
                                                                                                    legal
authoritiesand the defendantnotifies in writing the U.S. Probationofficer of this Court
                                                                                        to that effect.

   If allowedto remainin theUnitedStates,you shalladhereto the followingspecialconditions:

5. Thedefendantshallcooperate
                            in thethecollectionof a DNA sampleasdirectedby theU.S.probationofficer,
pwsuantto theRevisedDNA collectionRequirements,  andritle 1g,U.S.code 3563(a)(9).
    AO 2458       (Rev.06/05)Judgmentrn a Criminat
                           Case 3:04-cr-00351-ADCCase
                  Sheet5 - CriminalMonerarypenaltjes
                                                                        Document 612                  Filed 06/15/07      Page 5 of 5
                                                                                                                                          ---oi
    DEFENDANT:                                                                                                          - Page
                                                                                                                 Judgment             S
                                        ruAN PABLOCEDENO.PEREZ
    CASENUMBER:                         04-cR-351(17XSEC)
                                                   CRIMINAL MONETARY PENALTIES
            The defendant must pay the total criminal monetary penalties
                                                                                     under the schedule of palments on sheer 6.

                             Assessment                                              Fine
    TOTALS                                                                                                             Restitution
                         $ 100.00                                               $ 0                                  $ 0


    D       The determination of restitution is deferred until                  Ar
                                                               -.                     Amended Judgment in a criminal          case (Ao 245c) will be entered
            after such determination.

    tr The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendantmakesa panial payrnenr.eachpayeeshall receive
                                                    an apr
        *tt*;i'yr"**l31iiiffiflf-*,;ii;n-6;-fii;;;;;';#.i'"",]lri:"1iltfi:E:fliesidiTl'li#i:::ifi'il*;
    Name ofPavee                                  TotalLoss*                                RestitutionOrdered                     Priority or Percentas€




TOTALS                                                                                 $-                        o

tr      Rcstitution amount ordered pusuant to plea agreement $

!       The defendant must Pay interest on restitution and a fine ofrnore than $2,500, unless the
                                                                                                  restitution or fine is pald in full before the
        fifteenth day after the date ofthe judgment, pusuant to 18 U.S.c. 3612(f). All of the parrnent
                                                                           $                                options on Sheet6 maybe subject
        to penaltiesfot delinquencyand default, pursuanrto l8 U.S.C. g 3612(g).

D       The court determined that the defenclantdoes not have the ability to pay interest and it is
                                                                                                              ordered that:
        E      the interest requirement is waived for the       !       firte    !     restitutron.

        !      the interest requirement for the     !    fine       E      restitution is modified as follows:



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                                                    110A,
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